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                          MATTHEW W. BRISSENDEN, P.C.
                                      ATTORNEY AT LAW

    666 Old Country Road, Suite 501                       516-683-8500, Fax: 516-683-8410
    Garden City, New York 11530                           matthew.w.brissenden@gmail.com



                                                        March 28, 2025


    Via ECF
    The Honorable Pamela K. Chen
    United States District Court
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, NY 11201


                          Re:    United States v. Mustafa Goklu, 19-CR-386

    Dear Judge Chen,

            This office has been appointed to represent Mustafa Goklu in connection with his
    appeal from the above-referenced matter. I am writing to respectfully request an order
    directing Pretrial Services to return the Defendant’s travel documents.

             Mr. Goklu has completed the incarceratory portion of his sentence and is
    currently on supervised release. He has requested permission from his Probation Officer
    to visit his mother in Turkey, who is suffering from stage four cervical cancer. It is my
    understanding that Pretrial Services is currently holding the Defendant’s U.S. and
    Turkish passports, both of which are expired. As a result, the Defendant will need to
    renew his passports before he can travel.

            Mr. Goklu’s Probation Officer asked me to contact Pretrial Services to arrange for
    the return of his travel documents. However, I am informed by Pretrial that a Court order
    is required to obtain such documents. Accordingly, I am respectfully asking Your Honor
    to issue an order directing Pretrial to return the Defendant’s passports.

           Thank you for your consideration.

                                                        Respectfully submitted,
                                                                /s/
                                                        Matthew W. Brissenden


    cc:    All counsel of record (via ECF)
           Probation Officer Cameron Peters (via email)
